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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

DK TRADING & SUPPLY, LLC,                   §
                                            §
          Plaintiff,                        §
                                            §
v.                                          §           Civil No. 3:24-CV-0558-K
                                            §
JA DAKIS CAPITAL, LLC d/b/a                 §
GLOBAL OIL BUNKERING                        §
and PETROS KALAMARAS,                       §
                                            §
          Defendants.                       §

                        MEMORANDUM OPINION AND ORDER

          Before the Court is Plaintiff DK Trading & Supply, LLC’s (“DK Trading”)

Motion for Default Judgment Against Defendants JA Dakis Capital, LLC d/b/a Global

Oil Bunkering (“JA Dakis”) and Petros Kalamaras (“Mr. Kalamaras”)(the “Motion”).

Doc No. 16. The Court has carefully considered the Motion, the relevant record, and

the applicable law. The Court GRANTS the Motion and awards DK Trading default

judgment against JA Dakis Capital, LLC d/b/a Global Oil Bunkering and Petros

Kalamaras, but defers entry of final judgment to permit DK Trading 21 days leave to

supplement the record with evidence of its reasonable and necessary attorneys’ fees and

taxable costs.

     I.       BACKGROUND

          Plaintiff DK Trading is a limited liability company whose sole member is Alon

Refining Krotz Springs, Inc., a Delaware corporation whose principal place of business


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is in Texas. Doc. No. 10 at 1, ¶1. Defendant JA Dakis is a limited liability company

whose sole member (and President) is Defendant Mr. Kalamaras, who is a citizen of

New York.     Id. at 1-2, ¶¶2-3.   On or about August 31, 2022, JA Dakis and Mr.

Kalamaras submitted a Credit Application to finance JA Dakis’s purchases of petroleum

products from a refinery affiliated with DK Trading in Tyler, Texas. Doc. No. 10 at 2,

¶5. On or about November 1, 2022, JA Dakis began to purchase petroleum products

on credit from DK Trading’s affiliated refinery. Id. at 2, ¶¶6-7. Over the next two

months JA Dakis purchased fuel, but made no payments, and its outstanding credit

balance to DK Trading grew to $6,186,825.47. Doc. No. 10-3 at 2-16.

       On March 1, 2023, JA Dakis and Mr. Kalamaras both entered into a Payment

Agreement with DK Trading to arrange a payment plan for the outstanding credit

balance due. Doc. No. 10-2 at 2. The Payment Agreement provided for JA Dakis and

Mr. Kalamaras to pay the full balance of $6,186,825.47 then due DK Trading, through

scheduled weekly payments for twenty-five weeks, in exchange for DK Trading’s

forbearance on litigation to collect the amount due. Id. at 2-3, ¶¶1-3. The Payment

Agreement also entitled DK Trading to interest of 3% on the outstanding balance

during the repayment schedule. Id. Upon JA Dakis and Mr. Kalamaras’s final payment

under the Payment Agreement, DK Trading agreed it would release and discharge any

claims asserted (or which could have been asserted) with respect to the original amount

due. Id. at 3, ¶3.




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      After entering the Payment Agreement, JA Dakis and Mr. Kalamaras kept up

with their new payment schedule for about six weeks, but then made no payments after

April 19, 2023. Doc. No. 10-3 at 16. Although JA Dakis and Mr. Kalamaras did pay

$1,430,000.00 to DK Trading under the Payment Agreement, after reflecting these

payments, JA Dakis and Mr. Kalamaras continued to owe $4,756,825.47 of principal

to DK Trading. Id. In addition, JA Dakis and Mr. Kalamaras did not pay the interest

due to DK Trading pursuant to the Payment Agreement. Id. An officer’s affidavit

indicates DK Trading noticed JA Dakis and Mr. Kalamaras on May 1, 2023, May 22,

2023, June 6, 2023, and August 25, 2023 that $4,899,530.23 principal and interest

was due, and Defendants failed to pay this outstanding debt. Doc. No. 10-1 at 3, ¶3.

      On March 6, 2024, DK Trading filed its Original Complaint in this Court for

breach of contract and suit on sworn account. Doc. No. 1 at 3-5. The Original

Complaint asserted JA Dakis and Mr. Kalamaras failed to pay the amounts agreed

under the Payment Agreement, and that JA Dakis further failed to pay its account for

the petroleum it had purchased and received. Id. Accordingly, DK Trading sought

judgment against JA Dakis and Mr. Kalamaras for an award of $4,899,530.23 based

on unpaid principal and agreed interest, in addition to further sums for court costs,

attorney’s fees, and pre and post-judgment interest. Id. After amending its Original

Complaint to properly assert Defendants’ citizenship, DK Trading’s First Amended

Complaint asserts diversity jurisdiction under 28 U.S.C. § 1332(a) alleging the Parties




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are completely diverse and the amount in controversy exceeds $75,000. Doc. No. 10

at 1-2, ¶¶1-4.

         On March 7, 2024, the Clerk issued Summonses for DK Trading to serve upon

JA Dakis and Mr. Kalamaras. Doc. No. 7. On March 14, 2024, DK Trading served

the Summons and First Amended Complaint to JA Dakis through its registered agent.

Doc. No. 12 at 1. On April 10, 2024, DK Trading served Mr. Kalamaras by leaving

the Summons and First Amended Complaint with Mr. Kalamaras’ co-tenant at his

usual place of abode and by mailing a true copy of the Summons and First Amended

Complaint to Mr. Kalamaras at his last known residence and usual place of abode.

Doc. No. 13 at 1.

         Given neither Defendants answered or otherwise responded, on May 21, 2024,

DK Trading requested the Clerk to enter default against both JA Dakis and Mr.

Kalamaras. Doc. No. 14. On May 28, 2024, the Clerk entered default for both JA

Dakis and Mr. Kalamaras. Doc. No. 15. On May 31, 2024, DK Trading filed the

present Motion for Default Judgment against JA Dakis and Mr. Kalamaras. In the

months that have since passed, Defendants have failed to appear, or in any way

respond, and DK Trading’s Motion for Default Judgment is ripe to decide.

   II.      STANDARD OF REVIEW

         Federal Rule of Civil Procedure 55(b)(2) governs applications to the court for

default judgment. See FED. R. CIV. P. 55(b)(2). In the Fifth Circuit, there are three

steps to securing a default judgment: (1) default by the defendant; (2) the clerk’s entry


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of default; and (3) the district court’s entry of default judgment. New York Life Ins. Co.

v. Brown, 84 F.3d 137, 141 (5th Cir. 1996). By entering default judgment, “conduct

on which liability is based may be taken as true as a consequence of the default.” Joe

Hand Promotions, Inc. v. Alima, Civ. Action No. 3:13-CV-0889-B, 2014 WL 1632158,

at *1 (N.D. Tex. Apr. 22, 2014)(Boyle, J.) (quoting Frame v. S—H Inc., 967 F.2d 194,

205 (5th Cir. 1992)) (quotation marks omitted). But “[a] defendant’s default does

not in itself warrant the court in entering a default judgment. There must be a sufficient

basis in the pleadings for the judgment entered.” Lindsey v. Prive Corp., 161 F.3d 886,

893 (5th Cir. 1998). In assessing the pleadings to determine whether there is sufficient

basis to enter a default judgment, the court accepts well-pleaded allegations of facts in

the complaint as true. Nishimatsu Constr. Co. v. Houston Nat’l Bank, 515 F.2d 1200,

1206 (5th Cir. 1975).

   III.   ANALYSIS

          A. DK Trading has made a prima facie showing the Court has
             jurisdiction.

      For the Court to enter default judgment, the plaintiff must first make a prima

facie showing that the Court has “jurisdiction both over the subject matter and the

parties.” Sys. Pipe & Supply, Inc. v. M/V Viktor Kurnatovskiy, 242 F.3d 322, 324 (5th

Cir. 2001).

      Here, the Court finds that DK Trading has made a prima facie showing that the

Court has subject matter jurisdiction based on diversity. Plaintiff DK Trading is a

limited liability company whose sole member is a corporation that is a citizen of

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Delaware and Texas. Doc. No. 10 at 1, ¶1. Defendant JA Dakis is a limited liability

company and citizen of New York, for its sole member is Mr. Kalamaras, who is a

citizen of New York. Id. at 1-2, ¶¶2-3. Further, DK Trading’s suit seeks damages for

breach of contract of nearly five million dollars, in addition to interest, fees, and costs.

Doc. No. 10 at 3-4, ¶¶17, 22-24. Thus, by pleading complete diversity and an amount

in controversy that exceeds $75,000, DK Trading has made the required prima facie

showing that the Court has diversity jurisdiction in this action. 28 U.S.C. §1332(a).

       In addition, DK Trading has made a prima facie showing that the Defendants

have the minimum contacts with the forum state necessary for this Court to have

specific personal jurisdiction. A court may have specific personal jurisdiction over a

defendant relating to a contract dispute when it is alleged the contract’s negotiation,

performance, breach or anticipated consequences thereof, occurred in or relate to the

forum state. See Danziger & De Llano, L.L.P. v. Morgan Verkamp, L.L.C., 24 F.4th 491,

500 (5th Cir. 2022). Here, DK Trading has made a prima facie showing that the Court

has specific personal jurisdiction over the Defendants, who engaged in business in

Texas, entered a contract to purchase petroleum from a Texas refinery, secured

financing from a Texas company, and agreed in their Payment Agreement that exclusive

jurisdiction and venue for any enforcement would lie in Texas. See Doc. No. 10 at 1-2,

¶¶2, 4-6 (pleadings assert Defendants did business in Texas and purchased petroleum

in Texas); Doc. No. 3 at 2-16 (sworn statement of account shows hundreds of separate

petroleum purchases on credit by Defendants from Texas refinery); Doc. No. 10-2 at


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3, ¶10 (Payment Agreement establishes exclusive jurisdiction and venue for resolving

disputes are state or federal courts in Dallas County, Texas). Accordingly, DK Trading

has made a prima facie showing that Defendant has sufficient minimum contacts for

the Court to have specific personal jurisdiction over the Defendants.

          B. DK Trading has shown the pre-requisites for default judgment
             were met.

      A plaintiff moving for entry of a default judgment must establish as a

prerequisite that: (1) the defendant was served with the summons and complaint and

that default was entered for its failure to appear; (2) the defendant is neither a minor

nor an incompetent person; (3) the defendant is not in military service or not otherwise

subject to the Soldiers and Sailors Relief Act of 1940; and (4) if the defendant has

appeared, the defendant was provided with notice of the application for default

judgment at least three days prior to the hearing. See Arch Ins. Co. v. WM Masters &

Assocs., Inc., Civ. Action No. 3:12-CV-2092-M, 2013 WL 145502, at *2-3 (N.D. Tex.

Jan. 14, 2013) (Lynn, J.) (citing FED. R. CIV. P. 55 and Twentieth Century Fox Film Corp.

v. Streeter, 438 F. Supp. 2d 1065, 1070 (D. Ariz. 2006)).

      After careful review of the record, the Court finds DK Trading has established

the prerequisite elements for the Court to grant a default judgment.           First, the

Defendants were both properly served. DK Trading’s affidavit of service shows JA

Dakis’ registered agent was properly served with the Summons and First Amended

Complaint. Doc. No. 12; FED. R. CIV. P. 4(h)(1)(B). DK Trading’s affidavits of service

also show Mr. Kalamaras was properly served at his dwelling or usual place of abode

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through a co-tenant of suitable age and discretion. Doc. No. 13; FED. R. CIV. P. 4(e)(1),

(2)(B). The Court also notes that, though not required by the Federal Rules, following

New York law, DK Trading’s process server also mailed a true copy of the summons

and complaint to Mr. Kalamaras at his last known residence, in addition to the personal

service on Mr. Kalamaras’s usual place of abode through his co-tenant. Id.; see N.Y.

C.P.L.R. 308(2) (McKinney). The record further establishes that Mr. Kalamaras is in

fact the President and sole member of JA Dakis Capital, LLC, a co-defendant properly

served through its registered agent, and as such, Mr. Kalamaras had actual notice of

the present suit. Doc. No. 10 at 1-2, ¶¶2-3. For each of these reasons, the Court finds

service on both JA Dakis and Mr. Kalamaras was proper. See Harvest Nat. Res., Inc. v.

Ramirez Carreno, Civ. Action No. CV H-18-483, 2020 WL 3063940, at *4 (S.D. Tex.

June 9, 2020) (Rule 4’s “provision concerning usual place of abode should be liberally

construed to effectuate service if actual notice has been received by the defendant.”)

(citing Nowell v. Nowell, 384 F.2d 951, 953 (5th Cir. 1967)). After Defendants failed

to appear and answer or otherwise respond, the Clerk properly entered default. Doc.

No. 15.

      The remaining prerequisites are quickly addressed. Defendant JA Dakis is an

LLC; therefore, it is neither a minor nor an incompetent person, nor can it be in military

service. See Arch Ins. Co., 2013 WL 145502, at *3 (citing FED. R. CIV. P. 55(b)(2) and

50 U.S.C. App. §§ 521(a), (b)(1)(A) - (B)). Defendant Mr. Kalamaras is a natural

person, but the record establishes he is not a minor, an incompetent person, nor


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currently serving in the military. Doc. No. 16-1 at 2, ¶5; Doc. No. 16-5 at 2; Doc. No.

13 at 1; see also FED. R. CIV. P. 55(b)(2); 50 U.S.C. App. §§ 521(a),(b)(1)(A)-(B).

Therefore, all the procedural prerequisites to enter a default judgment have been met.

          C. DK Trading has established that a default judgment should be
             entered.

      The Court turns now to the second step of its analysis, determining whether a

default judgment should be entered. See Joe Hand Promotions, Inc., 2014 WL 1632158,

at *1 (courts conduct a two-step process in deciding whether a default judgment should

be entered). First, the Court must consider whether the entry of default judgment is

appropriate under the circumstances. Id. Second, the Court must address the merits

of Plaintiff’s claims and determine if there is sufficient basis in the pleadings for the

default judgment. Nishimatsu Constr. Co., 515 F.2d at 1206.

                1. The Court finds an entry of default judgment is appropriate
                   under the circumstances.

      In determining if default judgment against a party is appropriate, the Court

considers six factors: (1) whether material issues of fact are at issue; (2) whether there

has been substantial prejudice; (3) whether the grounds for default are clearly

established; (4) whether the default was caused by a good faith mistake or excusable

neglect; (5) the harshness of a default judgment; and (6) whether the court would think

itself obliged to set aside the default on the defendant’s motion. Lindsey v. Prive Corp.,

161 F.3d 886, 893 (5th Cir. 1998). Analyzing these factors here, the Court finds

default judgment against both JA Dakis and Mr. Kalamaras is appropriate. See id.


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      First, the record does not reveal any material issues of fact in dispute. Second,

there has not been any substantial prejudice, for despite receiving proper service, JA

Dakis and Mr. Kalamaras have simply not appeared. As such, they have not answered

or otherwise responded to DK Trading’s First Amended Complaint, though they have

had ample time to do so. Third, the record shows the grounds for default are clearly

established. Fourth, there is nothing before the Court to indicate that the default of

either JA Dakis or Mr. Kalamaras was caused by a good faith mistake or excusable

neglect. Fifth, the time that has passed since the entry of default, ameliorates the

inherent harshness of a default judgment. Finally, the Court is unaware of any facts

that would give the Court reason to set aside the default if either JA Dakis or Mr.

Kalamaras challenged the judgment. The Court’s analysis of these factors show they

weigh substantially in favor of granting default judgment against the Defendants.

Thus, a default judgment against JA Dakis and Mr. Kalamaras is appropriate.

                2. The Court finds DK Trading’s pleadings establish a
                   sufficient basis on which to grant default judgment.

      After concluding that a default judgment is appropriate under the circumstances,

the Court must then determine if there is a sufficient basis in the pleadings to grant

plaintiff a default judgment on its claims. See Nishimatsu Constr. Co., 515 F.2d at 1206.

As a result of their default, JA Dakis and Mr. Kalamaras are deemed to have admitted

the well-plead factual allegations in DK Trading’s First Amended Complaint.          See

Frame, 967 F.2d at 205 (“[C]onduct on which liability is based may be taken as true as

a consequence of the default.”).     In determining whether the pleadings establish

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sufficient basis for default judgment, the Court analyzed the First Amended Complaint

under the pleading standard of Federal Rule of Civil Procedure 8(a)(2). Wooten v.

McDonald Transit Assocs., Inc., 788 F.3d 490, 498 (5th Cir. 2015) (instructing that, in

determining whether a pleading is “well-pleaded” or “sufficient” for purposes of default

judgment, the court “draw[s] meaning from the case law on Rule 8, which sets forth

the standards governing the sufficiency of a complaint”).

                       a. The Court finds DK Trading’s pleadings establish a
                          sufficient basis to grant its breach of contract claim.

      The Court finds that DK Trading’s Amended Complaint establishes a sufficient

basis to support a default judgment on its breach of contract claim against both JA

Dakis and Mr. Kalamaras. The Parties’ Payment Agreement indicates Texas law would

govern the interpretation and enforcement of the contract. Doc. No. 10-2 at 3, ¶8.

Under Texas law, the elements of a breach of contract claim are “(1) the existence of a

valid contract; (2) performance or tendered performance by the plaintiff; (3) breach of

the contract by the defendant; and (4) damages sustained by the plaintiff as a result of

the breach.” Conn Credit I, L.P. v. TF LoanCo III, LLC, 903 F.3d 493, 499–500 (5th

Cir. 2018)(citation omitted).

      DK Trading’s well-pleaded complaint and supporting exhibits show the

following: (1) JA Dakis and Mr. Kalamaras entered a written Payment Agreement

under which the Defendants both agreed to pay $6,186,825.47 plus interest to DK

Trading in exchange for DK Trading’s temporary forbearance on collection; (2) DK

Trading performed under the Payment Agreement by holding off on pursuing collection

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while payments were being made; (3) JA Dakis and Mr. Kalamaras breached the

Payment Agreement by failing to pay the agreed-upon amounts; and (4) as a result of

Defendant’s breach of the Payment Agreement, DK Trading suffered damage of nearly

five million dollars of unpaid principal and interest. See Doc. No. 10 at 2-3, ¶¶5-10; see

also Doc. No. 10-1; Doc. No. 10-2; Doc. No. 10-3. Accordingly, the Court finds DK

Trading’s pleadings and supporting exhibits establish a sufficient basis for default

judgment on its breach of contract claim against both JA Dakis and Mr. Kalamaras.

                         b. The Court finds DK Trading’s pleadings establish a
                            sufficient basis to grant its suit on a sworn account.

      DK Trading also brings a second cause of action against JA Dakis for a suit on

sworn account. Doc. No. 10. at 4, ¶¶18-22. The elements of a Texas common-law suit

on sworn account are: “(1) there was a sale and delivery of the merchandise or

performance of the services; (2) the amount of the account is just, that is, that the

prices were charged in accordance with an agreement, or in the absence of an

agreement, they are usual, customary, and reasonable prices for that merchandise or

services; and (3) the amount is unpaid.” Coim USA Inc. v. Sjobrand Inc., 663 F.Supp.3d

684 (N.D. Tex., 2023)(Brown, J.) (citing Noodlenet, LP v. Proctor & Gamble Distrib. LLC,

Civ. Action No. 3:08-CV-1121-K, 2008 WL 11349984, at *2 (N.D. Tex. Nov. 11,

2008) (Kinkeade, J.)).

      DK Trading’s well pleaded complaint and supporting exhibits assert that (1) JA

Dakis purchased fuel from DK Trading on credit with DK Trading (fuel which the

Payment Agreement confirms JA Dakis received); (2) DK Trading’s refinery sold the

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fuel to JA Dakis on credit (which DK Trading asserts was at usual, customary, and

reasonable prices); and (3) that JA Dakis’ account remains unpaid for nearly five

million dollars (which is confirmed by the sworn account and corroborated by the

Payment Agreement). See Doc. No. 10 at 2-6, ¶¶5-10, 18-22; see also Doc. No. 10-1;

Doc. No. 10-2; Doc. No. 10-3. Accordingly, the Court finds DK Trading’s pleadings

and supporting exhibits establish a sufficient basis for default judgment on its suit on

a sworn account against JA Dakis.

          D. DK Trading has established it is entitled to specific damages as
             well as its pre and post-judgment interest, reasonable attorney’s
             fees and costs.

       In moving for a default judgment on its claims against the JA Dakis and Mr.

Kalamaras, DK Trading asks the Court to award the following damages: (1) actual

contract damages of $4,899,530.23, on the basis of unpaid principal balance of

$4,756,825.47 plus unpaid agreed 3% interest on the unpaid amount; (2) pre-

judgment interest until the date of final judgment; (3) post-judgment interest on the

total judgment accruing at the maximum rate allowed by law; (4) attorneys’ fees of

$21,666.20 and $827.80 of costs; and (5) all other relief at law or equity they are

entitled to receive.

       The Court may enter default judgment and award damages without conducting

an evidentiary hearing “where the amount claimed is a liquidated sum or one capable

of mathematical calculation.” Leedo Cabinetry v. James Sales & Distrib., Inc., 157 F.3d

410, 414 (5th Cir. 1998) (cleaned up). Here, the Court finds that the damages claimed


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by DK Trading are a sum capable of mathematical calculation, and on the basis of DK

Trading’s First Amended Complaint, the Payment Agreement, its sworn statement of

account, attorneys’ fee affidavit and other supporting exhibits, the Court finds the

record is sufficient to award damages without an evidentiary hearing. Doc. No. 10-1

at 3, ¶3; Doc. No. 10-2 at 2, ¶1(b); Doc. No. 10-3 at 16; Doc. No. 16-6 at 2-4.

      After careful review of the record, the Court awards DK Trading the following:

                1. The Court grants DK Trading $4,899,530.23 based on JA
                   Dakis and Mr. Kalamaras’s agreed but unpaid principal and
                   interest.

      After review of the evidence in the record, including the well-plead facts in DK

Trading’ First Amended Complaint, the Payment Agreement and DK Trading’ sworn

statement of account and supporting records, the Court finds that DK Trading’s

damages from JA Dakis and Mr. Kalamaras breach total $4,899,530.23, which includes

$4,756,825.47 of contracted but unpaid principal and $142,704.76 of contracted but

unpaid interest (3% of the outstanding balance under the Payment Agreement). Doc.

No. 10-1 at 3, ¶3; Doc. No. 10-2 at 2, ¶1(b); Doc. No. 10-3 at 16. Accordingly, the

Court grants judgment to DK Trading and awards $4,899,530.23 against both JA

Dakis and Mr. Kalamaras for their breach of contract on their Payment Agreement in

failing to pay to DK Trading their agreed principal and interest.

      Although DK Trading may not collect duplicative damage award under a second

duplicative cause of action, as DK Trading has separately established it is entitled to

judgment against JA Dakis for its failure to pay for the oil it purchased on account from


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DK Trading, the Court grants a judgment of $4,899,530.23 to DK Trading for its suit

on a sworn account against JA Dakis.

                 2. The Court grants DK Trading pre-judgment interest but
                    defers determination of the allowable amount pending entry
                    of final judgment, and submission of evidence to establish the
                    Defendants’ date of notice of the claim pursuant to Texas law.

       In diversity cases, pre-judgment interest on awarded damages is available when

permitted under state law. See Can Cap. Asset Serv., Inc. v. Whitaker Trucking, LLC, Civ.

Act. No. 9:19-CV-00071, 2020 WL 4724320 (E.D. Tex., 2020) (citing Bos. Old Colony

Ins. v. Tiner Assocs., 288 F.3d 222, 234 (5th Cir. 2002)). In Texas, the prejudgment

interest rate for breach of contract cases is the same as the post-judgment interest rate.

Int'l Turbine Serv., Inc. v. VASP Braz. Airlines, 278 F.3d 494, 500 (5th Cir. 2002). Under

federal law, post-judgment interest is to be awarded based on the weekly average 1-year

constant maturity yield, for the calendar week preceding the date of the judgment. 28

U.S.C. § 1961(a). Thus, in diversity cases such as this, pre-judgment interest is applied

at the federal post-judgment rate. Bos. Old Colony Ins., 288 F.3d at 234 (citing Fuchs v.

Lifetime Doors, Inc., 939 F.2d 1275, 1280 (5th Cir.1991)).

       In Texas, pre-judgment interest begins to accrue on the earlier of (1) 180 days

after the date a defendant receives notice of a claim, or (2) the date suit is filed. Johnson

& Higgins of Tex., Inc. v. Kenneco Energy, Inc., 962 S.W.2d 507, 531 (Tex. 1998) (citing

TEX. FIN. CODE § 304.104); Ho & Huang Props., L.P. v. Parkway Dental Assoc., P.A., 529

S.W.3d 102 (Tex. App.—Houston [14th Dist.] 2017, pet. denied). Pre-judgment



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interest stops accruing on the day preceding the date judgment is entered and is

calculated as simple interest which does not compound. TEX. FIN. CODE § 304.104.

      Although DK Trading is entitled to pre-judgment interest based on the forgoing,

the record before the Court does not clearly establish the pre-suit date upon which JA

Dakis and Mr. Kalamaras received notice of this claim, by which pre-judgment interest

is calculated, pursuant to TEX. FIN. CODE § 304.104. Further, the calculation of pre-

judgment interest cannot be determined until the Court enters final judgment, which

the Court will defer to allow DK Trading to supplement the record relating to fees and

costs, below. Accordingly, the Court grants judgment to DK Trading for pre-judgment

interest against JA Dakis and Mr. Kalamaras but will defer calculation of the specific

award of pre-judgment interest, pending the Court’s entry of final judgment. Should

DK Trading wish to supplement the record to establish the date that Defendants were

noticed pursuant to § 304.104, it may do so within 21 days of the entry of this order.

                3. The Court grants DK Trading an award of post-judgment
                   interest at the statutory rate, to be determined upon final
                   judgment.

      “Post-judgment interest is awarded as a matter of course” under 28 U.S.C. §

1961(a). Meaux Surface Prot., Inc. v. Fogleman, 607 F.3d 161, 173 (5th Cir. 2010).

Accordingly, DK Trading is entitled to award of post-judgment interest against JA

Dakis and Mr. Kalamaras on all amounts unpaid under the judgment from the date of

final judgment, until the date the judgment is fully paid, such interest is to be computed




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daily and compounded annually at the applicable statutory rate as of the date of the

entry of final judgment. 28 U.S.C. § 1961(a)-(b).

                4. The Court grants DK Trading reasonable and necessary
                   attorneys’ fees and taxable costs but defers the
                   determination of a specific award and grants Plaintiff leave
                   to supplement the record.

      As the prevailing party on a Texas breach of contract claim and suit on sworn

account, DK Trading is entitled to recover its reasonable and necessary attorneys’ fees.

TEX. CIV. PRAC. & REM. CODE § 38.001(7)-(8); Rohrmoos Venture v. UTSW DVA

Healthcare, LLP, 578 S.W.3d 469, 487-89 (Tex. 2019). In addition, there is “a strong

presumption that the prevailing party will be awarded costs.” Schwarz v. Folloder, 767

F.2d 125, 131 (5th Cir. 1985); 28 U.S.C. § 1920.           The Parties’ own Payment

Agreement further states that the “the court shall award attorneys fees and costs of the

suit to the prevailing party” in any lawsuit brought to enforce the agreement. Doc. 10-

2 at 3-4. Accordingly, the Court finds that DK Trading is entitled to an award of its

reasonable and necessary attorneys’ fees and its taxable costs.

      However, the record before the Court is not sufficient to establish the amount

of DK Trading’s reasonable and necessary fees and costs. “The documentation

supporting a factual finding regarding the amount of attorney's fees must be sufficient

for the court to verify that the applicant has met its burden of establishing an

entitlement to a specific award.” Gagnon v. United Technisource, Inc., 607 F.3d 1036,

1044 (5th Cir. 2010) (citing La. Power & Light Co. v. Kellstrom, 50 F.3d 319, 324 (5th

Cir. 1995)).

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      To determine the fees proper to award, the Court must first determine the

“lodestar”, which “is the product of the number of hours reasonably expended on the

litigation multiplied by a reasonable hourly billing rate.” League of United Latin Am.

Citizens No. 4552 (LULAC) v. Roscoe Indep. Sch. Dist., 119 F.3d 1228, 1232 (5th Cir.

1997). Only after establishing the reasonable rate for the reasonable hours expended,

may the Court evaluate further factors that might either increase or decrease the fee.

Johnson v. Ga. Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974).

      To determine reasonable hours, district courts “customarily require the applicant

to produce contemporaneous billing records or other sufficient documentation so that

the district court can fulfill its duty to examine the application for non-compensable

hours.” Gagnon v. United Technisource, Inc., 607 F.3d 1036, 1044 (5th Cir. 2010)

(quoting Kellstrom, 50 F.3d at 324). Further, the party seeking fees bears the burden

of demonstrating that its “requested rates are in line with those prevailing in the

community for similar services by lawyers of reasonably comparable skill, experience,

and reputation.” Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984); see also Advarra Tech.

Sols., Inc. v. N. Tex. Clinical Trials, LLC, Civ. Action No. 4:22-CV-001049-O, 2023 WL

5167033 at *7 (N.D. Tex. June 6, 2023)(Ray, J.) adopted, Civil Action No. 4:22-CV-

001049-O, 2023 WL 6217744 (N.D. Tex. Sept. 25, 2023)(O’Connor, J.)(reducing

attorneys’ requested rates to reasonable, usual, and customary levels).




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        The Court finds that DK Trading is entitled to recover its reasonable and

necessary attorneys’ fees and taxable costs, and the Court will defer entry of final

judgment and allow DK Trading 21 days from the entry of this Order to supplement

the record to evidence its reasonable and necessary attorneys’ fees and costs.

   IV.         CONCLUSION

        For the forgoing reasons, the Court GRANTS Plaintiff DK Trading & Supply,

LLC.’s Motion for Default Judgment Against Defendants JA Dakis Capital, LLC d/b/a

Global Oil Bunkering and Petros Kalamaras. Plaintiff DK Trading & Supply, LLC. is

awarded the following damages against Defendants JA Dakis Capital, LLC d/b/a Global

Oil Bunkering and Petros Kalamaras:

        (i)       $4,899,530.23 in actual damages;

        (ii)      pre-judgment interest, in an amount to be determined;

        (iii)     post-judgment interest, at the applicable statutory rate; and

        (iv)      reasonable and necessary attorneys’ fees and taxable costs, in an

                  amount to be determined.

        The Court finds that DK Trading is entitled to recover pre-judgment interest, as

well as reasonable and necessary attorneys’ fees and taxable costs, but the record does

not contain all the evidence necessary for the Court to determine a proper award of

each.




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      Accordingly, the Court will defer entry of final judgment and allow DK Trading

21 days from the entry of this Order to supplement the record, if it wishes to do

so.

      SO ORDERED.

      Signed March 19th, 2025.

                                             __________________________
                                             ED KINKEADE
                                             UNITED STATES DISTRICT JUDGE




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